395 F.2d 850
    BEVERAGE DISTRIBUTORS, INC., a corporation, Appellant,v.OLYMPIA BREWING COMPANY, a corporation, Appellee.OLYMPIA BREWING COMPANY, a corporation, Appellant,v.BEVERAGE DISTRIBUTORS, INC., a corporation, Appellee.
    No. 22364.
    No. 22364A.
    United States Court of Appeals Ninth Circuit.
    May 17, 1968.
    
      Ben H. Parkinson, Jr. (argued), Douglas P. Ferguson, of Ackerman, Johnston, Norberg &amp; Parkinson, San Francisco, Cal., for appellant Beverage Distributors, Inc.
      David Brice Toy (argued), John C. McHose, David Strain, of Lillick, McHose, Wheat, Adams &amp; Charles, Los Angeles, Cal., for appellee Olympia Brewing Co.
      Before CHAMBERS and BROWNING, Circuit Judges, and BELLONI, District Judge.
      PER CURIAM:
    
    
      1
      The court views the temporary injunction as an interim order which attempts to approximately maintain the status quo ante, a little difficult to do because of the interposition of "fair trading." Under the circumstances, the court is generally satisfied with the temporary injunction. It does not believe that the temporary injunction necessarily reflects what the ultimate disposition will be.
    
    
      2
      This court believes it would be appropriate to amend the temporary injunction to permit, until judgment in the district court, Beverage Distributors, Inc., to buy all of the beer from Olympia Brewing Company it desires to buy, subject to such qualifications as that the purchases should not require Olympia to construct new facilities and the purchases should be ordered in a timely manner so that Olympia will not be seriously discommoded in deliveries to others. The district court is authorized and requested to make such modifications.
    
    
      3
      This court does not believe the temporary injunction should approach "permanency" simply because of delays in getting to trial and suggests that the parties should try to expedite the case in the district court. Perhaps the time spent on this appeal by both sides would have been enough to get the case to trial by now.
    
    